Case 1:11-cr-00168-WES-LDA Document 65 Filed 08/07/18 Page 1 of lP e|D #: 305

iam

UNITED STATES DISTRICT COURT

.Y~jnq

AO 442 (Rev. ll/ll) ArrestWarrant

 

for the 1 ha §§ jj
District of Rhode Island m
United States of America y 2 l

) Case NO_ 1:‘I1-‘CR'-'001G'B¢WES*;LDAi-Q];;~j§;

Christiine Ha|vorsen )
)
)
)

Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

()1ame of person to be a)')'estea) Christin@ Ha|\/Orsen ,
who is accused of an offense or violation based on the following document filed with the court1

El Indictment \ El Supersedinglndictment El lnformation lj Superseding Information lfl Complaint

El Probation Violation Petition li{ Supervised Release Violation Petition ij Violation Notice ['_'J Order of the Court

This offense is briefly described as follows:

Violation of Supervised Re|ease

 

_ / t ;§ f
Dare: 10/04/2017 ,/; , k v §§ /,{:;i,,,,%»~w

sgk /i'ssz/ing ojj'icer"s signature
City and state: Providence, R| Kerrie Jaeksoni, Deputy Clerk

 

 

P."i/iie¢i name and title

 

Return

 

 

1 1
This warr twas ieceived on lQl((:fareé' l l l L'/’r;\( > \f | , and the person was arrested on (date) ~~0 671 03 !QO‘ f

at (city and state) m \/ \M\

MM __ZG% %é/»

A)')'estmg ojj'icer s signature

_B\-QM'<» mm BuSM

P)'inted name and title

 

 

 

 

 

